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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                          Chapter 11

STRUDEL HOLDINGS LLC and                                        Case No. 23-90757 (CML)
AVR AH LLC,
                                                                (Jointly Administered)
                   Debtors.1


    SUPPLEMENTAL STATEMENT OF YETTER COLEMAN LLP PURSUANT TO
             11 U.S.C. § 329 AND BANKRUPTCY RULE 2016(B)

         Yetter Coleman LLP (“Yetter Coleman”), pursuant to 11 U.S.C. § 329, Rule 2016(b) of

the Federal Rules of Bankruptcy Procedure, and the Order Authorizing the Employment and

Retention of Yetter Coleman LLP as Special Counsel [Docket No. 167], hereby files this

Supplemental Statement:

         1.      Yetter Coleman is employed as special counsel to the Debtors in the above-

captioned bankruptcy cases.

         2.      In the one year prior to the July 27, 2023 (the “Petition Date”), Yetter Coleman

received $492,014.50 in compensation for legal services rendered jointly representing the Debtors,

Charif Souki (individually), and Karim Souki, Christopher Souki, and Lina Souki Rizzuto, in their

capacities as trustees of the Souki Family Trust (collectively, excluding the Debtors, the “Related

Parties”) in connection with a lawsuit filed on March 6, 2023 in the Supreme Court of New York,

New York County against Nineteen77 Capital Solutions A LP, Bermudez Mutari, LTD,

Wilmington Trust, N.A., and UBS O’Connor LLC (collectively, the “Defendants”) and other



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    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
    are: AVR AH LLC (0148) and Strudel Holdings LLC (5426). The Debtors’ service address is: PO Box 4068,
    Aspen, CO 81612.


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ongoing disputes between the Debtors and Related Parties and the Defendants. The entirety of the

amount was earned when paid. The source of compensation for such services was Charif Souki

and Ajax Holdings, Inc.

       3.     After the Petition Date, Yetter Coleman received $350,000 on September 11, 2023

and $300,000 on September 28, 2023 as compensation for legal services rendered to the Debtors

as special counsel and for the joint representation of Related Parties in Adversary Case No. 23-

09003 proceeding before this Court and in the State Court Litigation and for reimbursement of

expenses. The entirety of the amount was earned when paid. The sources of these payments were

the Souki Family 2016 Trust and Ajax Holdings LLC.

       4.     Yetter Coleman has not shared or agreed to share (i) any compensation it may

receive with another party or person, other than with the partners, associates, employees, and

contract attorneys associated with Yetter Coleman, or (ii) any compensation another person or

party has received or may receive.




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Dated: October 20, 2023                     Respectfully submitted,

                                            /s/ Timothy S. McConn
                                            R. Paul Yetter
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                                            Timothy S. McConn
                                            State Bar No. 24032713
                                            Jamie A. Aycock
                                            State Bar No. 24050241
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                                            Counsel to Charif Souki and Karim Souki,
                                            Christopher Souki, and Lina Souki Rizzuto, in their
                                            capacities as trustees of the Souki Family 2016
                                            Trust and Special Counsel for the Debtors and
                                            Debtors in Possession

                                  CERTIFICATE OF SERVICE

       I certify that on October 20, 2023, the foregoing was served on all counsel of record via
the Court’s ECF system.


                                            /s/ Timothy S. McConn
                                            Timothy S. McConn




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